






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00157-CV





Gregory Michael Klapesky, Appellant


v.



Eleuteria "Neca" Sansone, Renee Little, and Philip Gianno Sansone, Appellees





FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 395th JUDICIAL
DISTRICT NO. 05-023-A395, HONORABLE MICHAEL JERGINS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	Appellant Gregory Michael Klapesky filed his notice of appeal on February 27, 2006. 
On March 29, 2006, this Court received notice from the Williamson County district clerk's office
that Klapesky's request for a free copy of the record was denied, Klapesky had not paid for the
clerk's record, and the clerk's record was overdue.  On June 26, 2006, the Clerk of this Court
notified Klapesky that his appeal would be dismissed for want of prosecution if he did not make
satisfactory arrangements to pay for the cost of preparing the clerk's record by July 6, 2006.  To date,
Klapesky has not responded to this Court's notice.  Accordingly, we dismiss the appeal for want of
prosecution.  Tex. R. App. P. 37.3(b).


					__________________________________________

					Bob Pemberton, Justice

Before Justices B.A. Smith, Puryear and Pemberton

Dismissed for Want of Prosecution

Filed:   October 19, 2006


